              Case 2:02-cr-00213-MCE Document 402 Filed 05/12/10 Page 1 of 3




 1

 2

 3

 4

 5

 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                    No. CR S-02-0213-MCE-CMK

12                  Respondent,

13          vs.                                   ORDER

14   GABRIEL ORTIZ-VILLALOBOS,

15                  Movant.

16                                       /

17                  Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

18   aside a criminal judgment pursuant to 28 U.S.C. § 2255. Pending before the court is movant’s

19   motion for reconsideration (Doc. 398 in the criminal docket) of the court’s final order issued on

20   December 5, 2007.

21                  The court may grant reconsideration of a final judgment under Federal Rules of

22   Civil Procedure 59(e) and 60. Generally, a motion for reconsideration of a final judgment is

23   appropriately brought under Federal Rule of Civil Procedure 59(e). See Backlund v. Barnhart,

24   778 F.2d 1386, 1388 (9th Cir. 1985) (discussing reconsideration of summary judgment); see also

25   Schroeder v. McDonald, 55 F.3d 454, 458-59 (9th Cir. 1995). The motion must be filed no later

26   ///

                                                     1
                Case 2:02-cr-00213-MCE Document 402 Filed 05/12/10 Page 2 of 3




 1   than ten days after entry of the judgment.1 See Fed. R. Civ. P. 59(e). Under Rule 59(e), three

 2   grounds may justify reconsideration: (1) an intervening change in controlling law; (2) the

 3   availability of new evidence; or (3) the need to correct clear error or prevent manifest injustice.2

 4   See Kern-Tulare Water Dist. v. City of Bakersfield, 634 F. Supp. 656, 665 (E.D. Cal. 1986),

 5   rev'd in part on other grounds, 828 F.2d 514 (9th Cir. 1987), cert. denied, 486 U.S. 1015 (1988);

 6   see also 389 Orange Street Partners v. Arnold, 179 F.3d 656, 665 (9th Cir. 1999); accord School

 7   Dist. No. 1J v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993).

 8                  Under Rule 60(a), the court may grant reconsideration of final judgments and any

 9   order based on clerical mistakes. Relief under this rule can be granted on the court’s own motion

10   and at any time. See Fed. R. Civ. P. 60(a). However, once an appeal has been filed and

11   docketed, leave of the appellate court is required to correct clerical mistakes while the appeal is

12   pending. See id.

13                  Under Rule 60(b), the court may grant reconsideration of a final judgment and any

14   order based on, among other things: (1) mistake, inadvertence, surprise, or excusable neglect;

15   (2) newly discovered evidence which, with reasonable diligence, could not have been discovered

16   within ten days of entry of judgment; and (3) fraud, misrepresentation, or misconduct of an

17   opposing party. A motion for reconsideration on any of these grounds must be brought within a

18   reasonable time and no later than one year of entry of judgment or the order being challenged.

19   See Fed. R. Civ. P. 60(c)(1).

20   ///

21

22          1
                     Pursuant to Houston v. Lack, 487 U.S. 266 (1988), for pro se prisoner litigants
     seeking reconsideration, the court calculates the 10-day period from the date the motion was
23   delivered to prison authorities for mailing to the court. Otherwise, the 10-day period is
     calculated based on the date the motion for reconsideration is actually filed.
24
            2
                    If reconsideration is sought based on new evidence which could not have been
25   discovered through due diligence in time to move for reconsideration under Rule 59(e), relief
     may be available under Federal Rule of Civil Procedure 60(b)(2). A motion under Rule 60(b)(2)
26   may not be brought more than one year after entry of judgment.

                                                       2
              Case 2:02-cr-00213-MCE Document 402 Filed 05/12/10 Page 3 of 3




 1                  In his motion, movant argues:

 2                          . . . Petitioner bases his claims of a disparity in his sentence under
                    18 U.S.C. § 3553(A) factors, and on Intervening Change of Law, such as
 3                  the anticipated Supreme Court rulings pursuant to 18 U.S.C. § 924(c)
                    “Except Clause.”
 4

 5   In the accompanying memorandum, petitioner re-argues the merits of his case. Petitioner does

 6   not, however, point to any allowable basis for reconsideration of the court’s final order in this

 7   case. Moreover, movant’s motion is untimely under either Rule 59 or Rule 60.

 8                  Accordingly, IT IS HEREBY ORDERED that movant’s motion for

 9   reconsideration (Doc. 398 in the criminal docket) is denied.

10
      Dated: May 11, 2010
11
                                                    ________________________________
12                                                  MORRISON C. ENGLAND, JR.
                                                    UNITED STATES DISTRICT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                       3
